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 6    Attorneys for Defendant City of Fresno
 7                               UNITED STATES DISTRICT COURT
 8                             EASTERN DISTRICT OF CALIFORNIA
 9
10                                                  ) Case No. 1:07-CV-01210 OWW-SMS
      ROBERT B. HARRIS,                             )
11                                                  )     ORDER ON PLAINTIFF’S MOTION
                           Plaintiff,               )     TO DISMISS
12                                                  )
             v.                                     )
13                                                  )
      CITY OF FRESNO,                               )
14                                                  )
                           Defendant.               )
15                                                  )
                                                    )
16                                                  )
17
             On October 5 and October 26, 2009, the Court held hearings on Plaintiff’s
18
      Motion to Dismiss and Application for Waiver of Costs. Sean Gavin appeared for
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      Plaintiff Robert Harris. Mr. Harris was also in attendance. Joseph D. Rubin appeared
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      for Defendant City of Fresno.
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             Based upon the Court’s review of the moving and opposition papers and the
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      argument of counsel, the Court ORDERS AS FOLLOWS:
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             The Court grants dismissal on the following conditions: (1) Plaintiff Robert Harris
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      will be required to pay Defendant City of Fresno’s costs (not including attorney’s fees) in
25
      this action; and (2) if Plaintiff chooses to file another lawsuit regarding his employment
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      with the City of Fresno based on any issues, facts, and/or theories of liability that have
27
      been raised in this litigation, the action must be filed in the United States District Court
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                                                                                                Order
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 1    for the Eastern District of California, and be subject to the Court’s previous orders.
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 4
 5    Dated: November 5, 2009                   /s/ OLIVER W, WANGER
                                                Oliver W. Wanger
 6                                              U.S.D.C. Eastern District Judge
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 1                                     PROOF OF SERVICE
 2           I am a citizen of the United States of America, a resident of Fresno County,
      California, over the age of 18 years and not a party to the within-entitled cause or
 3    matter. My business address is P. O. Box 28550 [7108 N. Fresno Street, Suite 460],
      Fresno, California. On November 9, 2009, I served ORDER ON PLAINTIFF’S
 4    MOTION TO DISMISS on the parties in this action by placing an original/a true copy in
      an envelope and delivering it as follows:
 5
      _____         (By Overnight Courier) I caused such envelope with postage fully
 6                  prepaid, to be sent by ____________________.
 7    _____         (By Mail) I deposited the envelope, with postage fully prepaid, with the
                    United States Postal Service at Fresno, Fresno County, California.
 8
      _X__ (By Mail) I placed the envelope for collection and processing for mailing
 9         following this business’ ordinary practice with which I am readily familiar. On the
           same day correspondence is placed for collection and mailing, it is deposited in
10         the ordinary course of business with the United States Postal Service with
           postage fully prepaid.
11
      _____         (By Hand)I caused each envelope to be delivered by hand.
12
      Each envelope was addressed as follows:
13
14    Sean Gavin, Esq.
      The Law Offices of Bowman * Foos
15    2151 River Plaza Drive, Suite 105
      Sacramento, CA 95833
16
17    ___     (By Telecopy) I caused each document to be sent by telecopier to the
              aforementioned number(s).
18
            I declare under penalty of perjury under the laws of the State of California that
19    the above is true and correct. Executed on November 9, 2009, at Fresno, California.
20
                                                       /s/ Debbie Mazza
21                                                     Debbie Mazza
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                                                 -3-                                           Order
